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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION


In re:                         §
ALLIANCE FARM & RANCH, LLC and §                             Bankruptcy No. 25-30155
ALLIANCE ENERGY PARTNERS, LLC. §                             Chapter 11
                               §                             (Jointly Administered)
            Debtors.           §
                               §
                               §

                                   NOTICE OF APPEARANCE

        PLEASE TAKE NOTICE that on behalf of Jerod P. Furr, the undersigned hereby appears

as counsel and requests that copies of any and all notices, pleadings, motions, or other documents,

filed or entered in this case, be transmitted to:

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        Respectfully submitted this 5th day of June 2025.

                                                        PENDERGRAFT & SIMON, L.L.P.

                                                       /s/ Leonard H. Simon

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                               CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing instrument was duly served
by electronic transmission to all registered ECF users appearing in the case on June 5, 2025.

                                                   /s/ Leonard H. Simon




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